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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND




 ROBIN KRAVITZ, et al.

                   Plaintiffs,
                                                     No. 8:18-cv-01041-GJH
        v.

 U.S. DEPARTMENT OF COMMERCE, et
 al.

                   Defendants.


 LA UNIÓN DEL PUEBLO ENTERO, et
 al.,

                    Plaintiffs,

          v.                                         No. 8:18-cv-01570-GJH

 WILBUR L. ROSS, in his official capacity
 as U.S. Secretary of Commerce, et al.,

                    Defendants.



 NOTICE OF SETTLEMENT RE: ATTORNEYS’ FEES, EXPENSES, AND COSTS IN
                            No. 18-1570

       Plaintiffs La Unión Del Pueblo Entero, et al. and Defendants Wilbur L. Ross, et al.

hereby inform the Court that the parties have reached a settlement resolving Plaintiffs’ Motion

for Attorneys’ Fees and Costs relating to this action.
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Dated: September 30, 2019                 Respectfully submitted,

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